              Case 2:09-cr-00712-DGC Document 1491 Filed 01/20/12      Page 1 of 2
                            IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF ARIZONA
                                    CRIMINAL TRIAL MINUTES

Phoenix Division


 CR 09-712-1 PHX DGC                 DATE:     1/20/2012
 Year    Case No. Dft #

HON: DAVID G. CAMPBELL                                       Judge # 7031

USA   v.      MAHON, DENNIS
                Last Name                      First Name                    Middle Initial

DEFENDANT: X Present           Not Present           Released      X   Custody       Writ
 Deputy
Clerk:   Traci C. Abraham                    Crt Rptr/ECR:   Merilyn Sanchez

U.S. Atty: John Boyle/Michael Morrissey             Dft Atty:    Deborah Williams/Milagros
Ciseros (FPD)

Intrptr:             Language:
      Dft not appearing, on mot of US Atty, order bond revoked/forfeited and
      B/W issued.

PROCEEDINGS:/ X /JURY TRIAL      /     /COURT TRIAL     /     /VOIR DIRE /    /JURY SWORN

Trial Day #        8                           Waiver of Jury trial filed

Other Appearances: Defendant Daniel Mahon, present/custody; CJA Attorney Barbara
Hull present.

8:33 Court in session. Counsel and defendants present. Absence/Existence of an
indictment re: coconspirators addressed. Defendant Dennis Mahon's trial memorandum
(doc. 1476), joined by co-defendant Daniel Mahon (doc. 1477) discussed. Court will
preclude the defense from arguing under Rule 403 the absence of an indictment re:
coconspirators. The Court further orders reversing decision on the Government's
motions in limine (docs. 1459, 1465) and will grant the motions.

Defendant Daniel Mahon's oral motion in limine re: characterize individuals as co-
conspirators. Matter to be addressed at morning break.

Government trial brief (doc. 1475) discussed. To be addressed at morning break.

9:08 Jury present. Tristan Moreland cross examination by Dennis Mahon continues.
Exhibits 1076-1204 admitted. 9:33 Defendant Daniel Mahon cross examination of
Tristan Moreland begins. Exhibit 808 admitted.

10:20-10:35 Morning break.

10:32 Court in session. Counsel and defendants present. Cross examination of
Tristan Moreland discussed.

10:45 Jury present. Tristan Moreland cross examination continues.

12:00-1:00 Jury excused for lunch.

12:01 Government trial brief (1475) re: Exhibit 170 discussed. Court takes matter
under advisement.
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12:15 Court in recess.
1:01 Court in session. Counsel and defendants present. Government trial brief re:
exhibit 170. Court concludes that exhibit shall not be admitted under
801(d)(2)(E). Susan Buchanan shall be released from subpoena.

1:08 Jury present. Tristan Moreland cross examination continues. Exhibits 632,
633, 634, 635, 607(A) admitted.

2:31-2:45 Afternoon break.

2:43 Court in session. Counsel and defendants present. Parties stipulate to the
chain of custody of a laptop computer.

2:48 Jury present. Tristan Moreland        cross   examination   continues.   Exhibits
1069,1070,1071,1072,1073 admitted.

4:01 Jury excused to return on 1/24/2012 at 9:00 a.m.

4:01 Defendant Daniel Mahon's motion to amend/correct supplement record (doc.
1458) addressed. Government to file their power point presentation used in opening
statements by notice with the Court docket. Once the notice is filed the Court
will deny the motion.

4:05 Court in recess.


Case continued to:   1/24/2012 8:30 a.m.    for further trial.
